                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 CODY YOUNG,                                       CV 21–67–M–DLC

                      Plaintiff,

        vs.                                                 ORDER

 ANDREW SAUL, Commissioner of
 Social Security Administration,

                      Defendant.


      This matter comes before the Court on Plaintiff’s Application to Proceed In

Forma Pauperis. (Doc. 1.) Because it appears from a review of Plaintiff’s

application that he lacks sufficient funds to prosecute this action,

      IT IS ORDERED that Plaintiff’s Application to Proceed In Forma Pauperis

(Doc. 1) is GRANTED. Plaintiff is granted leave to file his complaint without

prepayment of the filing fee.

      IT IS FURTHER ORDERED that:

      (1)     Pursuant to Fed. R. Civ. P. 4(d), the Court will ask Defendant to

waive service of summons by executing, or having counsel execute, the attached

Waiver of Service of Summons. The Waiver must be returned to the Court

within thirty (30) days of the entry date reflected on the Notice of Electronic


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Filing of this Order. If Defendant chooses to return the Waiver, an answer or

appropriate motion will be due within 60 days of the entry date reflected on the

Notice of Electronic Filing, pursuant to Fed. R. Civ. P. 12(a).

      (2)    The Clerk of Court shall forward this Order, a Notice of Lawsuit &

Request to Waive Service of Summons, a Waiver of Service of Summons, and the

Complaint to the following individuals:

      U.S. Attorney General
      U.S. Department of Justice
      950 Pennsylvania Avenue, NW
      Washington, D.C. 20530-0001

      Acting U.S. Attorney Leif M. Johnson
      2601 Second Avenue North, Box 3200
      Billings, MT 59101

      Andrew M. Saul
      Commissioner Social Security Administration
      6401 Security Blvd.
      Baltimore, MD 21235-0001

      DATED this 21st day of June, 2021.




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